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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                            April 24, 2025
                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                                                                         Nathan Ochsner, Clerk

                          HOUSTON DIVISION

Kerry Lee Thomas,                         §
           Plaintiff,                     §
                                          §
v.                                        § Civil Action No. H-23-662
                                          §
Eric Bruss, et al.,                       §
             Defendants.                  §

                        ORDER RESETTING MEDIATION

        TO ALL PARTIES AND COUNSEL OF RECORD:

      Defendants’ Unopposed Motion to Continue the Mediation, ECF NO. 109,
is GRANTED. The above matter was referred to United States Magistrate Judge
Peter Bray for mediation. You are hereby notified that the mediation is scheduled
for:

                            August 1, 2025, at 1:00 p.m.
                            in Courtroom 703 (7th Floor)
                              United States Courthouse
                                  515 Rusk Street
                                Houston, TX 77002


CONFIDENTIALITY

It is ORDERED that the mediation is confidential. Any matters discussed with the
court in its role as the mediator will not be made part of the record and shall be
kept in confidence by all attendees. Recording of the mediation by any means is
strictly prohibited.
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REQUIRED ATTENDANCE AT THE MEDIATION

      The following people must attend the mediation:

      The attorneys who will try the case.

      All parties, including a person having full authority to negotiate and to settle
      the case on any terms.

      No one else may attend, unless all counsel and the court agree in advance.

CONFIDENTIAL MEDIATION STATEMENT

      On or before July 29, 2025, each party will deliver directly to chambers
(Room 7720) a confidential mediation statement, which should not be filed with
the Clerk of the Court, nor served upon the other parties. Brevity is encouraged.
Delivery to chambers may be accomplished by emailing the statement to the
court’s case manager.
      The confidential mediation statement must include:

      1.    A brief statement of the facts of the case;

      2.    A brief statement of the claims and defenses, with a discussion of the
            major issues in dispute;

      3.    An estimate of the cost and time that has been invested to date, and
            that is expected to be expended for further discovery, pretrial and trial;

      4.    The relief sought;

      5.    The current status of settlement negotiations and a brief history of
            efforts to settle the case; and

      6.    The name, title, and role of each person that will attend the mediation.




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PRE-MEDIATION CONFERENCE CALL

       The court will hold a conference call with lead attorneys (no clients) on July
31, 2025 at 3:30 p.m. to discuss the mediation process and preparation. The
conference will be conducted by Zoom and instructions will be emailed to the
attorneys at a later date.

      Signed at Houston, Texas, on April 24, 2025.



                                             _______________________
                                                     Peter Bray
                                             United States Magistrate Judge




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